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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                   8:07CR25
      vs.                                   )
                                            )                    ORDER
MICHAEL FLOWERS and                         )
MALISA MONROE,                              )
                                            )
                    Defendants.


       This matter is before the court on defendants’ unopposed motions for extension of
time to file pretrial motions. For good cause shown, I find that the motions should be
granted.

      IT IS ORDERED:

      1.    Defendant Michael Flower’s Motion to Extend Time in Which TO FILE
PRETRIAL MOTIONS [30] and defendant Malisa Monroe’s Motion to Expand Time [31] are
granted.

      2.     Pretrial motions shall be filed on or before March 20, 2007.

      3.     Defendants are ordered to file a waiver of speedy trial as soon as
             practicable.

       4.     The ends of justice have been served by granting such motions and
outweigh the interests of the public and the defendants in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between March 6,
2007 and March 20, 2007, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendants’ counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

      DATED this 7th day of March, 2007.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
